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FILED

UCT 2 2 2010

IN THE UNITED STATES DISTRICT COURT C|erk, U.S. District & Bankruptcy
FOR THE DISTRICT ()F C()LUMB[A Courts for the District of Columbia

William Boykin
Lamont Caldwell
Paul Cole
Thomas Griff`in
Gerald Holmes
Chuck Perry

JOseph Proctor
Williarn Proctor
Albert Selby

Civil Action NO.

L §
Case. 1.10-Cv-O1790
Assigned TO Friedman` Pau\ L, / /j
Ass`\gn. Date : 10/22/2010
Descr`\ption: TRO/Pl

Homeless persons living On
the streets of the District 0f Colurnbia

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VS.

Adrian Fenty,
in his Individual and Off`ieial Capacities
1350 Pennsylvania Avenue, NW

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PLAINTIFFS )
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Washington, DC 20004 )
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DEFENDANT _
COMPLAINT
JURISDICTION
1. Plaintiffs bring this action pursuant to T/)e .4mer1`ccms Wl`th Di.s'abz`/ities AC!. 42 U.S.C. §§
12101 et.sed., 1213], and 12132 (“ADA”), The Fal'r Hc)usingAcl, 42 U.S.C. §§ 3601-
' m m 3()31 and 3604(1)(])("{~`1*]/\") and the Dz'.s'/rz'ut ¢g/`(`()lzznihz'¢z }1'1¢))1¢7)1 Ri_q/zls /1cl. D.C.
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Official Code §§ 2-1401.01 et seq. and 2-1402.21(a)(4) (place of residence
discrimination) (“DCHRA”). This Court has original jurisdiction over all federal
statutory claims pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction over the

claims arising under the laws of the District of Columbia.

THE PARTIES

Plaintiff, William Boykin, is a natural person and former inhabitant of La Casa Shelter,
1436 lrving Street, NW, Washington, DC, 20()10.

Plaintiff. Lamont Caldwell, is a natural person and former inhabitant of La Casa Shelter,
1436 lrving Street, NW, Washington, DC, 20010.

Plaintift`r Paul Cole, is a natural person and former inhabitant of La Casa Shelter, 1436
lrving Plaintiff, Lamont Caldwell, is a natural person and former inhabitant of La Casa
Shelter, 1436 lrving Street, NW, Washington, DC, 20010.

Plaintiff. Thomas Grifiin, is a natural person and former inhabitant of La Casa Shelter,
1436 lrving Street, NW, Washington, DC, 2001().

Plaintiff, Gerald Holmes, is a natural person and former inhabitant of La Casa Shelter,
1436 lr\/ing Street, NW, Washington, DC, 20010.

Plaintiff. Chuck Perry, is a natural person and former inhabitant of La Casa Shelter, 1436
Irving Street, NW, Washington, DC, 20010.

Plaintiff, Joseph Proctor, is a natural person and former inhabitant of La Casa Shelter,
1436 Irving Street, NW, Washington, DC, 2001 O.

Plaintiff, William Proctor, is a natural person and former inhabitant of La Casa Shelter,
1436 lrving Street, NW, Washington, DC, 20010.

Plaintiff, Albert Selby, is a natural person and former inhabitant of La Casa Shelter, 1436

Irving Street, NW, Washington, DC, 20010.

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Defendant Adrian Fenty is Mayor of the District of Columbia.

VENUE

All parties either reside or work in the District of Columbia. and all complained of
events took place in the District ofColumbia. La Casa Shelter is located in the District of
Columbia. Venue in therefore proper. 28 U.S.C. § 1391 et seq.

ALLEGATIONS
The District of Columbia owns the property located at 1436 Irving Street, NW .
Washington D.C. known as the La Casa Shelter. The Coalition for the Homeless operated
La Casa Shelter during the relevant time period and provided services to the homeless
described herein. A 2006 report identified that approximately 80% of the homeless
population in the District of Columbia consists of African Americans. Pl. Ex. 1, Excerpt,
Draft Consolidaled Plan FY 2006 Actz`on P!an fDl'slrl'ct ofColumbia at 79.
Upon information and belief, the overwhelming majority of residents at La Casa were
African American and Hispanic. See Pl. Ex. 2, pages 1-3, photographs of La Casa
residents waiting in an alley in Columbia Heights for shelter entry (2009) (Illustrating the
declining conditions endured by minorities of Ward 1 prior to the shelter’s closing).
Plaintiffs resided at the former La Casa Shelter located at 1436 Irving Street in Northwest
Washington, D.C. La Casa Shelter was a low barrier shelter which served thousands of
men over at least the past decade
Numerous residents suffered from various disabilities including chemical dependency,

mental illnesses including but not limited to depression and schizophrenia The

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worsening conditions and ultimate closure of this last remaining public shelter in Ward 1,
in combination with the lack of public shelters in Wards 2, 3, and 4, have forced former
La Casa residents to live on the streets, estranged from vital services and adequate
shelter, or be displaced from their community by being forced instead to seek shelter in
the far flung parts of the city in Anacostia, where the city is now bussing them` This
illustrates the systematic displacement of the predominantly minority homeless from the
Wards of the District which contain the most aftluent, white populations to the poorest
Wards in D.C. According to a Greater DC Cares Fact Sheet “Homeless families in D.C.
are typically headed by a single woman from Ward 7 or 8.” See Pl. EX. 3, Greater D.C.

Cares F act Sheet, Homelessness in DC (2008) at l.

. Former residents are reportedly bussed to and sleeping on the floors of the Anacostia

Shelter (801 East Building, 2700 Martin Luther King Ave. SE) (hereinafter “801 East”).

The rate of homelessness continues to rise in the District, attributed to an ever increasing
lack ofaffordable housing in the District, including high rents and mortgages, a rise in
physical and psychological abuses suffered by the homeless, stagnant wages and slashed
public assistance, lack of adequate mental health facilities and the lack of adequate day

care facilities

. The Washington Legal Clinic for the Homeless (WLCH) reports that approximately

16,000 people are homeless in Washington DC over the course of a year, one of highest
rates in the country. Pl. EX. 4, WLCH, H()me/essnes.s' and Poverly, Washingfon, DC

(2009) at 1-2 (hereinafter “WLCH reporl”).

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The WLCH also reports that, for most applicants the wait for emergency family shelter is
approximately six months and there is in excess of four hundred families on the wait list
for emergency shelter, with numbers increasing daily. Fifteen percent of respondents in
an April 2009 surveyed said they were forced to sleep on the streets due to shelters being
full. and 40% refused to enter shelters due to overcrowding On average, homeless
individuals were turned away from emergency shelter 25 times each night.

According to the WLCH report, as of October 2009, at least 15,41 1 households remained
on the wait list for DC Housing Authority’s Public Housing and 26,704 households on

the wait list for Housing Choice Voucher Program. 13,000 of whom are homeless.

. The number of public housing units in the District has decreased by 4000 units since

2000, and will continue to decrease, with at least 68% of all project based subsidized

units set to expire by 2023. WLCH report at 3-4.

. Prior to closing La Casa, the Urban lnstitute reported that at least 13,000 single adults

and 2,800 adults and children use emergency shelter in the District every year, and that
the shelters were in excess ofcapacity on a regular basis: 164% over capacity at New
York Ave., 125% over capacity at Franklin Shelter, 1 l l% over capacity at 801 East.
“l`his report illustrated the regular overcapacity of shelters p_rior to closing of downtown
Franklin Shelter and La Casa.Shelters. Pl. Ex. 7, Majr)r Recommendatz`ons: Summary

Report ()fthe Urban Insiilute ’s Assessment ofthe District r)_/'C()Zumbia ’s Pub[ic H()n'zeless

i.¢l.s'.s‘l`.s‘tance System, June 2. 2008 at page 2 ( hereinafter "Ur})an [nstitule rep()rt”)

On January 27 of this year, 6,539 literally homeless persons were counted in the District
in the most recent Point in Time study performed by the Department of Housing and

Urban Development (HUD). This is an increase in 5% from the Point in Time 2009

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The Permanent Supportive Housing (PSH) program was instituted in the District in 2008,
and reportedly housed a thousand homeless people as of July of this year. The program
seeks to remove the chronically homeless from dependence upon shelters, placing them
in housing while providing supportive services to develop or restore self reliance. and has
been used as an excuse for closing the shelters in the predominantly white parts of the

city.

. There has been no transparency of the PSH program since its inception as to the

economic viability of the program in successfully addressing the homeless problem, with
regard to the attrition rates of placements. the adequate provision of accompanying

supportive services, or the location of those services in relation to housing locations.

. Former long time residents of La Casa are reportedly being housed in what seems to be a

haphazard fashion in PSH units in far flung parts of the city, with little or no indication
that a proper assessment of the need for supportive services is being appropriately

provided to ensure the will men will in fact be able to remain in that housing.

. The current situation now exposes former La C asa residents to great risk of harm,

especially those with mental or physical disabilities Former residents are relegated to
now seek shelter in overcrowded conditions and in the most distant and poorest parts of
the city. They now face long lines to enter existing shelters, overcrowded conditions.
increased incidences of violence due to overcrowding, unreliable transportation, lack of
access to life saving services, and great difficulty in maintaining or seeking employment
in the downtown area or other areas of opportunities which are far removed from Wards

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Former La Casa residents are isolated in the poorest wards of the city, far removed from
soup kitchens and food programs available in downtown DC, and now lack access to

adequate meals.

. Former La Casa and Ward 1 residents. some of which have been provided housing. and

some of which have been forced to seek shelter in parts of the city that lack adequate
facilities to provide for their physical and mental health needs, are now placed in greater
risk of physical danger, and now face large impediments in their ability to seek and

maintain employment

. Former residents of La Casa Shelter include those with compromised physical and mental

capacities, and are now living on the streets of the Ward 1 area, or bussed to the poorest
parts of the city, without access to life saving medicines, without access to case worker
contact and supervision

The lnter-Agency Council on Homelessness (ICH) held its bi-monthly meeting on
February 25. 2009, where Fred Swan reported that over 3,100 homeless singles and over
360 homeless families had completed assessment forms in efforts to obtain Permanent
Supportive Housing, but only 414 singles and 1 family have been housed. (ICH Feb. 25.

2009 miiiutes).

. l\/lost PSH placements have occurred in the poorest and most violent parts of town, and

with the least services available for the vulnerable and the homeless.

. ln a June 2, 2008 study commissioned by the District Government, the reviewers found

that almost every District-owned emergency shelter has serious deficiencies including
but not limited to gaping lioles, cracked ceilings, leaky pipes, unusable toilets and soiled

beds. The Communl`ly Partnershl'p and the District ofColumbl`a ’s Public Homeless

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Assl`stance System, .lune 2, 2008 at 9.

littp://\'\'ww.urban,org/llploadcdl)l)l~`/¢ll 1694 community partnersliip.pdf

. Currently designated warming centers are as many as five miles away from the

downtown area, and lack reasonable access to job opportunities balanced meals, and

much needed physical and mental health services

. Plaintiffs seek temporary and permanent injunctive relief compelling the District

Government to stop the closure of the La Casa Shelter and return the .s'lalus ql/r),
providing adequate facilities in good condition to serve persons who are homeless in
Ward 1. with reasonable access to much needed mental health, health care services,
adequate staffing of case workers and counselors for addictions and other disabilities as

well as employment counseling

COUNT l
(Violation of F air Housing Act Disparate Treatment - Race)

Plaintiffs incorporate by reference the allegations in the foregoing paragraphs as if fully

set forth herein.

. Plaintiffs are a protected class under the FHA, African Aiiierican or Hispanic men, while

others suffered harm as a result of the discriminatory actions of defendants
Defendants were/are housing providers as defined under the FHA.
Defendants intentionally denied plaintiffs housing because of plaintiffs` race.

Defendants are without justification for the complained of acts

. Plaintiffs therefore seek compensatory and punitive damages in the amount of

$10,000.000.00, declaratory judgment, and such other relief deemed appropriate

COUNT ll
(Violation of F air Housing Act Disparate Treatment--Disability)

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Plaintiffs incorporate by reference the allegations in the foregoing paragraphs as if fully

set forth lierein.

. Plaintiffs are a protected class under the FHA, mentally disabled, physically disabled and

suffering from substance abuse. Others have suffered harm as a result of the
discriminatory actions of defendants

Defendants were/are housing providers as defined under the FHA.

Defendants intentionally denied plaintiffs housing because of plaintiffs` disability.
Defendants are without justification for the complained of acts

Plaintiffs therefore seek compensatory and punitive damages in the amount of
$10,000.000.00, declaratory judgment, and such other relief deemed appropriate

COUNT III
(Violation of Fair Housing Act Disparate Impact--Race)

Plaintiffs incorporate by reference the allegations in the foregoing paragraphs as if fully

set forth herein.

. Plaintiffs are a protected class under the FHA, African Ainerican and Hispanic men,

while others suffered harm as a result of the discriminatory actions of defendants

. Defendants were/are housing providers as defined under the FHA.
. Defendants actions had a disproportionate impact on African Americans or Hispanics.

. Defendants are without justification and less discriminatory means were available to

achieve any purported interest.

. Plaintiffs therefore seek compensatory and punitive damages in the amount of

$10,000.000.00, declaratory judgment, and such other relief deemed appropriate and
consistent with Count 1 of this complaint

COUNT IV

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(Violation of Fair Housing Act Disparate Impact - Disability)
Plaintiffs incorporate by reference the allegations in the foregoing paragraphs as if fully
set forth herein.
Plaintiffs are a protected class under the FHA, mentally disabled. physically disabled and
suffering from substance abuse. Others have suffered harm as a result of the

discriminatory actions of defendants

. Defendants were/are housing providers as defined under the FHA.

Defendants actions had a disproportionate impact on African Americans and Hispanics.
Defendants are without justification for these actions and less discriminatory means were
available to achieve any purported interest

Plaintiffs therefore seek compensatory and punitive damages in the amount of
810,000.000.00, declaratory judgment, and such other relief deemed appropriate and
consistent with Count ll of this complaint

COUNT V
(Violation of Americans With Disabilities Act Disparate Treatment)

. Plaintiffs incorporate by reference the allegations in the foregoing paragraphs as if fully

set forth herein.

. Plaintiffs are a protected class under the ADA, mentally disabled, physically disabled and

suffering from substance abuse. Others have suffered harm as a result of the
discriminatory actions of defendants
Defendants are a governmental entity as defined under the ADA, and subject to it s

requirements

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. Defendants owned the property located at 1426 Irving Street, N.W. Washington, D.C.

known as La C asa Shelter. Services for disabled homeless were provided at and around
La Casa Shelter.

By closing La Casa, defendants intentionally and directly and proximately denied
plaintiffs needed services because of their disability.

Defendants are without justification for the complained of acts

Plaintiffs therefore seek compensatory and punitive damages in the amount of
$10,000.000.00, declaratory judgment, and such other relief deemed appropriate

COUNT VI
(Violation of Americans With Disabilities Act Disparate Treatment)

Plaintiffs incorporate by reference the allegations in the foregoing paragraphs as if fully
set forth herein.

Plaintiffs are a protected class under the ADA, mentally disabled, physically disabled and
suffering from substance abuse. Others have suffered harm as a result of the
discriminatory actions of defendants

Defendants are a governmental entity as defined under the ADA, and subject to it s
requirements

Defendants owned the property located at 1436 Irving Street, N.W. Washington, D.C.
known as La C asa Shelter. Services for disabled homeless were provided at La Casa

Shelter.

. By closing La Casa Shelter, defendants intentionally and directly and proximately denied

plaintiffs needed services because of their disability.

Defendants’ actions had a disproportionate impact on the disabled

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Defendants are without justification these actions and less discriminatory means were
available to achieve any purported interest.
Plaintiffs therefore seek compensatory and punitive damages in the amount of
810,000.000.00, declaratory judgment, and such other relief deemed appropriate
consistent with Count V of the complaint
COUNT VII
(Violation of D.C. Human Rights Act, Place of Residence Discrimination,
Disparate Treatment)
Plaintiffs incorporate by reference the allegations in the foregoing paragraphs as if fully
set forth herein.
Plaintiffs are/were residence of Northwest Washington, D.C . for the relevant time period.
Defendants did intentionally discriminate against plaintiffs by closing La Casa Shelter.
Other similarly situated shelters in remote areas of Wards 7 and 8 were treated differently
by defendants
Defendants did so without justification
Plaintiffs therefore seek compensatory and punitive damages in the amount of
$10,000.000.00, declaratory judgment, and such other relief deemed appropriate
COUNT VIII

(Violation of D.C. Human Rights Act, Place of Residence Discrimination,
Disparate Impact)

. Plaintiffs incorporate by reference the allegations in the foregoing paragraphs as if fully

set forth herein.

. Plaintiffs are/were residents of Northwest Washington D.C. for the relevant time period.

. Defendants’ actions had a disproportionate impact on the residents of Northwest

Washington. D.C.

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Defendants are without justification these actions and less discriminatory means were
available to achieve any purported interest
Plaintiffs therefore seek compensatory and punitive damages in the amount of
$10,000.000.00, declaratory judgment, and such other relief deemed appropriate
consistent with Count V of the complaint
COUNT IX
(Violation of D.C. Human Rights Act, D.C. Code § 2-1401.01 et seq.,
Disparate Treatment)
Plaintiffs incorporate by reference the allegations in the foregoing paragraphs as if fully
set forth herein.
Defendants did intentionally discriminate against plaintiffs by closing La Casa Shelter
and abruptly removing vital and other services
Plaintiffs are individuals with disabilities as defined in D.C. Code § 2-1401.02(5A) and
are entitled to all of the protections rights and remedies of Title § 2-1401.01 el Seq. of the
Code of the District of Columbia (the Humcm Rl'ghts Act).
At all times relevant thereto, defendants violated the Plaintiffs’ rights under the Human
Rights Act by refusing to accommodate their needs and requests for adequate shelter

from the rain. snow, ice and cold, as well as for accessible mental health and health care

services adequate nutrition, and employment opportunity availability.

. Defendants’ actions constitute violations of D.C. Code § 2-1401.01 et Seq.

. As a direct result of the discriminatory acts of Defendants Plaintiffs have suffered the

damages described herein.

Defendants did so without justification

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95. Plaintiffs therefore seek compensatory and punitive damages in the amount of
310,000.000.00. declaratory judgment and such other relief deemed appropriate

COUNT X
(Violation of D.C. Human Rights Act, D.C. Code § 2-1401.01 et seq., Disparate lmpact)

96. Plaintiffs incorporate by reference the allegations in the foregoing paragraphs as if fully
set forth herein.

97. Defendants’ actions had a disproportionate impact on the former inhabitants of La Casa
Shelter, by displacing them from much needed vital services adequate nutrition, and
employment opportunities

98. Plaintiffs are individuals with disabilities as defined in D.C. Code § 2-1401.02(5A) and
are entitled to all of the protections rights and remedies of Title § 2-1401.01 et Seq. of the
Code of the District of Columbia (the Human Rights Acl).

99. At all times relevant tliereto, defendants violated the Plaintiffs` rights under the Human
Rights Act by refusing to accommodate their needs and requests for adequate shelter
from the rain. snow_ ice and cold, as well as for accessible mental health and health care
services adequate nutrition, and employment opportunity availability.

100. Defendants’ actions constitute violations of D.C. Code § 2-1401.01 er seq.

101. As a direct result of the discriminatory acts of Defendants Plaintiffs have suffered
the damages described herein.

102. Defendants did so without justification

103. Plaintiffs therefore seek compensatory and punitive damages in the amount of

310,000.000.00, declaratory judgment, and such other relief deemed appropriate

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Plaintiff" s hereby demand a trial by jury for all claims so triable, Plaintiffs further demand all

such relief available, but specifically demanded

October 21. 2010

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